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                                           Animal and Plant HoaHh tnspec1ion Service                    16313 1S121:Z00151   -·
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                                                      Inspection Report
Pamela Sellner
Tom Sellner                                                            Customer I0 : S143
Cricket HollOw Zoo                                                        Cortllicate· 42-C-0084
1512 210th Stree1
Manchester, lA 52057                                                             Slie· 001
                                                                                  l(:lf.t l PAUQ..A SEU.HER


                                                                                 Type· ROUTINE INSPECTION
                                                                                 Date· Jun-12-2013

 2.40            (b)      (2)
 A TTENOING VETERINARIAN AND A DEOUATE VETERINARY CARE (DEALERS AND EXHIBITORS~
(b) Each dealer or exhittit« shd . . , _ , onc1 ....,..., _ . , . o1 ~· ..,~enna~y care thai include:(2) The
use ol """""'""" ........,. 10 pr_,, -         · ~. and ...,..,_..,. and r,ur;es. and lhe              ol        ..-tv
emtWgOney, weeund, and hOiday c:ate;


hQ;rtoss oo her abdomen, undO< ller arms. on ller tNgh, and oo ller t.all The skin dKl        not-
Inspectors observed one animaJ In nttd of vt1erlnaty cere. '"Cynthia·, a female capuc~ mcri.ey ttad areas of
                                                                                             red or Inflamed at the
 time of inspeaion. Inspectors obleNed her 10 be Chewtng on l'lef tail numerous limes. Hairloss call be indicative of
•nteebon, parasrte infestation, aJitfgic conclitlona, Ot l*lavlotal abnormaldies. The liCensee must have this animal
evaluated by a V(ltctlnarian in order to dcHormine a ct.agnosls Qlld appropriate treatment plan, and the loensee must
provide the inspector with documentation of the outcome of the eJ~aminaiJon and treatment upon request. The
licensee must ensure that all anlmats receive ackKIUato votorlnary care aJ al hmes.

 To be tonected by 20 June 20 t3

3.10
 WATERING.

II potable water is not cont!flualty avrutable to the dogs nnd cats, it must be offered to the dogs and cats as often as
neoessary to ensure their health end wol1 ·belng, but not toss than twice druty tor at least I hour each lime, unless
rostricted by IM anendlng vetorlnartan. WatCH' roooptacloa mus.t bo kopt cloan and sanitized In accordance with Soc.
.....
3.11(b) of this subpart, and before being used to wtller a dltferenl dog or cat or sociaJ grouping of dogs or cats .

In an enclosure oontalnlng two dogs. thO water re<::eptacta contained a buildup ol green material. Water receptacles
must be kept cJean and Hnllized In accordance with the regulations in order to ensure that animals are provided with
dean, potable water, and to ensure that the dogs maintain adequate hydration. Tho Ucen:soe must ensure that the
afOtcmcnOoncd wiltor rocoptilekl a.nd all wator rocopt3Cies are malntalnod ltl a clean condition.




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                       VETERINARY MEDlCAL OfflCER l""*'or 6016
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                                                                                                          Jun-13-2013

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                                                       Inspection Report
To be correcled by 14 June 2013

3.75             (c)      (3)
 HOUSING FACtUTlES, GENERAL.

(c) So~aces-~3) Cleaning. Hard su~aoes wl1h Whoch oonhvmoo primates oome in oootaa mvst be spol-deaoed daiy
and $anitized in aocotdanoe With Sec. 3.&4 ot this IUbpln 10 prevent accumulation of excreta or disease hazards.. H
lhe speoes scent """"· !he sunaoos mvs1 be sanotizod 0< •oplacod al regular lroGiv.>ls as dctll!TIWlOd by lhe
attending veterinarian in aocordanco wl1h _.lly IIClOOI)IOd pror...-.J and husbandry praaices. AoO<s made ol
din, abscf1Jenl -.g. sand, gravel.-· 0 1 -                  ..,,lor
                                          AI-su-
                                                               mate<tal, and plarded ..-s..es mvs1 be raked 01 spol·
cleaned won sulficienl fmquencyiO ..,..... a1 anlmalslhe ~-10 oY<lOd conlaej W\411              •=•ra.
                                                                                                   Coolamioated
materialmvsl be removed or roplaoed . . . _ _ raiUog and IPOI deaoiog does 1101 eimioale odors. diseases.
- p e s t s, 01 _ , . , inlestatoon.                      ol housing fdlies mvs1 be Cleaned and saMized when
ilOOOS&a'Y 10 salJSiy - a t y ~husbandly- and....,..,.., -                                may be done by""' .....
mell1ods pr.,.;cled in Sec. 3.84(b)(3) ollhil MJ11pen lor prmary encloourea.

In two enclosures, each conoahng one buSh baby. lnspecloro noled lhallhe- hanging nesling bags - • in need
ol deeming. They were soiled wi'lt'l brown material and ouu,. Surfaces i"' wt.c:n the anmafs cxme into c:xnaa rrust
be Cleaned and sanilled as olton as -••'Y in 0<0or 10 S4tisfy accopCable husbaiQy s..-ros. in order 10
prevent contatrinarion of lhe animals. and 10 reduce 1he likeWiood o1 di$ea$e tran:smission. The licensee fT1JSC en&We
that these and al svrlace$ in ()Ontac:t with the anima-. are duned and &anlttZed as orten as neoessary to meet
appropriate oosbandly smndardS

To be corrected by 14 June 20 13


3.75             (e)
HOUSING FACIUT1ES, GENERAL.

(e) S1orage. SupP'Ies of food and bodcling must be stored In a manner that protects the supplies from ~ilage.
contamination, and vermin inle&tatlon. The suppllos 11'kJSt be stored ot1 the floor and away from the walls, to a!low
deaning unciQmeath and around thO supplies. Food roqulrlng rotrlgoralion must bo stOt'od accordingly, and all foOd
must be stored in a manner that prevet~ts oontaminatton and <$eterioration of its nutritive value. Only the food and
bedding currently being used may be kel)lin animal a1eas, and when not in actual use, open foOd and bedding
suppties must be kept In IOakptoof oontalnors wllh tightly filling !lets to prevent spoilage and contamination.
Substances that are tol(ic to l.he noohuman prlmntes but that are required for normal husbandry practices must not be
.....
storoo in food storage and preparation areas, but may be atorod In cabinets in the animal areas.

In the "rel)(i'e house" a refrigerator contalnod e bag ol romaine tettuce. The tettuce was was brown and con1aminatecl
with small insec~s. The shelves of the retl1gorolor woro dirty and In nood of c&eanlng. Also, in lh& "ptimate buik:ling" a
refrigerator contained numerous applos Tho apples were contaminated with ftying insects. and the shelving inside
the refrigerator wa.& in need of cleaning. In order 10 protect foOd l!om oontaminat.ion, spoilage, and vermin infestation,
it must be storGCI approptlatoly, and tho storage areas must bo maintained in clean coodiUon. Otherwise the nutritive
value of the food cannot be known with certainty, and could affect the health of the animals. The licensee must
ensure that all food i$ SIOred



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Olli>'Oilrialel~. and 11>01 tood   storage areas are mairoained In dean ccnoruon

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3.80            (a)     (21        (Oil
PRIMARY ENCLOSURE&

(a) General requ~ements (2) Primary enclosures,.,.. be oonsb'Uaed and          '"""""'*
                                                                                  so lllatthey· ~i) Conlairllhe
nonhuman pnmates securely and prevent aocidental opening of 1he endo6ure, Including opening by the animal;

In the indoor ponlon ol an enclosure housing three baboons (one large male}, lnspectOfs observed the chain link
primary enclosure fencing to be bowed outward. The bowing is s,evere enough !hat the enclosure may not be
struclurally sound enough to sOOJrel)' cootain the animals within tho ooclosure. Inspectors also noted that the metal
chain securing !he gate ol lhe indoor porlion of an enclosure housing two mo.caquea is rusted. This rusted chain is
the onty means ol securing lhls enctosute ga.te, and may not bG strong enough 10 ptevam the animals from Opetling
the cncklsure. Tho lioonsco musl ensure thai the afOtemcnUoocd onclosuros 010 repaired and maintained In order to
oonlain !he anknala aecurety and prevent aocidental opening ol the enclosure.

The rusted chain was corrected a1 the time of the inspection The orher Issue must be 00f'fec1ed by 12 July 2013.




3.1 25         (a)                                  REPEAT
FA CILmES. GENERAL

 (a) 51rucltn1Sirenglll The ladli1y,.,.. be constructed of such "'"'"""' and of such Slfenglh as appropriate fo< the
.,.;mats " -· The irdoor and Ot.Odoor housing faciilieo ohol be lll\lCIUtllly sound and sllal be mainlaWled in
good r - r to pr001e1 1110 an1mo1s from Injury and 10 contain 111e animals.

The lenoe HPOI81ing lhe lalow deer Qndosure and Jacob's sheep endotvre wasln d•Stepaw. The wire panels are
bowed lnlo ltle fallow deer enclosure. and the wire has sepatated from lhe wooden posts In spots. The damage is
oonoentrated IOWtlrdS the bottom of the wire panels.. Also, in an enclosure containing San!a Cruz sheep, the chain
link type renee Ia In d~trepair. The bOUom pol'lion olthe fencing is bent inwards Into !he enclosure eteating sharp
points of wiro. Tho alorCJmontloncd fencing Is not being maintained In good ropoJr, and could allow lor animal escape,
or injury. The ticonsoo must repair Of replaoe the aforementioned fooclng, and ensure !hal all fencing is maintained in
good repair, and that lho fonclng Is structurally sou.nd a1alltlmos.

3.127          (a}
FACILrTIES. OUTDOOR.
(a) Shetler from sunlighl When sunlight is likely to cause oveffleatl'lo or dlscomfon of tile animals.. sufficient shade
b)' natural or anrildll means Shal be provided to a~ all animal$ kep4 ouldoott 10 procect themselves from direct
sunlight.

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I""*""'-
..-lor lho -
             one lion eodosure and one cougar enc:tooure, each houlong one anomal, lhat
                                a.-
                        enclostnlslhal do not haw sulticoonl sholer lwom lho llrighl can resull ;n lh8
                                                                                                      ha'"'--.
- - -bocomong ovorhealed. The licensee rrusl pr1Mde- shade lor .. animals kepi OU1doo<s
., order 10 protea them lrom lhe direCt sunligN.

 To be oorroc:t!>d by 26 ~ne 2013.

3.127                  (C)                          REPEAT
FACILITIES, OUTDOOR.
(c) Drainage. A kllto.ble method shall be provided to rapidly eliminate excess watet. The method of drainage shall
oomply with applicable Fecterat. State, and tocalla•N$ and regulations re&aling to potlulion control Of the protection ot
.....
U'le environment

Inspectors observed an area ot standing water and deep, wet mud In the enclosure housing three Sco11iSh Highland
catUe. The ca111e must walk through the wat8f' and mud In Of'der to aooess the tood and water receptacles in the
enclosure. The eante were observed to s.ink in the mud almost to the level ot their 'ltnees· as they walked in this area.
Their coats wett muddy along the entir'e length of lheir legs and on the undersides oltheir abdomens. Suitable
dralnago must bet provided in this area order to ensure that the anlmats have ready lcce5S to 1heir food and water,
and to promoco the comfof'l of the animals. The lic:ensee m~ ensuro lhattho anmats can access 1ood and water
teeerplades 'M'Ihout waJk.ing through wa101 and mud and lhat excess water It rapidly Wn.naled lrom the enctosure.



3.130
WATERING.
If potable wruer Is notecc::es$ble to the animals at an times, It must be provided as often as nec:essary for rhe hea!ttl
and comf0f1 of the animal. Frequency of watering shall oonsidef age, species, cond•tion, size, and type of the animal
.....
AI wat&r receptacles JhaU bo kopt dean and sanitary.

In an encloc.ure oontalnlng two woOdct.ueks, the water receptacle was soiled with btown materiaL tn an enclosure
oontalnlng goalS and sheep, the water recepcacle contained a buildup ot green matOfiQ.I, Also, In an enclosure
oontalnlng a coyote, the water receptac::te contained a buildup of green materlnJ. Water receptacles must be
maintained In o clean ond sanilary condition in order to ensure that the anlmob are provided with dean, potable
water, and to onsure thatthoy maintain adequate hydration. Tho llconsoo must onsuro lhat the aforementioned water
receptacle and all wotor receptacles are maintained in a clean condition.

T0 be CO<ri>CIO<I by 14 June 20 I 3




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3.131                  (I )                         REPEAT
SANITAT10N.

(a) CteaAng olendoourn Exueta -          be removed from pm,.., enc1o1ures oo often as necessaiY to pr...,...
c:onwntnabOf'l "' lhe atWnala contained rherein and to minirra:e cbeue hezatOI and 10 reduce odors. When
enc:tosures ate cleaned by~ Of ftusNng. adequate measures &hal be taken 10 prOC.oct tho anlmats CX>IV'Md             •n
.....
such enck:llures IYom befng dwealy sprayed with rhe s11eam of water Ot wetted inYOiuntBI'lly

tnspectots Ob.sei'V'Gd a bv!ldup o4 <irt and gtlme oo a shelter In an enClOsure containing a coyote. Inspectors also
obs.erved a Iaroe runoun1 of hair embedded in the wire of an eoclosure conto.ining two chinchillas. lrt$peciOC"$ also
observed a bulldUQ ol btown material and dust on an igloo type shelter SIIUCtureln on enoiOS:ure containing two
Patagonlo.n ca\fios. Inspectors also obsetVed a buildup of dust, ditl and CObwebs In an enclosure oontalnlng a serval.
Animal enclosures must be cleaned routinely in order to provide fat appropriate husbandry standards, to reduce
disease transm1$$i0nf and to proven! the animals from becoml~ conta.mlnatod or &ollod. Tho hoensee must clean LM
aforemondonod enclosures. and ensure that all enclosures ate cleaned as orten as neoessary to promote awropriate
husbandry standards.




3 .131                 (d)
SAN1TAT10N.

(d) Pesl conOol A sale and eftec:Ove program lo< 1lle ooniJol of insecu. O C I - and....., and mammalian
_ _ b o _ a n d , . . . _.

                                                                                 "101.
In an encloi<Jre ..,.,..,.,;ng- Oijer$, ~-a lalge run1>e< o1

,.,.,.,... OC>oONed a large number of llies. The llies - •                 on tno  -ng
                                                                                    The llies - • ooncenllale<l on 1lle
ground ol the endolu'e near the animal'$ food source. Afso, in an endolvre cont8il'ing an annacillo and a sloth.
                                                               CO<an"""'d                 sullotrate. and near the food
source. Fles can transmt diseases to lhe animals and conlaminatethe Mlmara feed. The licensee must establish
and maintain an etlectlve progtam tor the contrOl of rodents, msec:ts, birds, lnd mammalran pests.

To be cocrectad by 4 July 2013




lnspectloo and exit Interview conducted with 1acility reptesentative.




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